     Case:19-30236-SDB Doc#:29 Filed:06/14/22 Entered:06/14/22 11:53:59                                               Page:1 of 1
                             UNITED STATES BANKRUPTCY COURT
                                                Southern District of Georgia

In re:                                                                                      Case No.: 19−30236−SDB
Roland McClendon and Bernice Braddy
McClendon,                                                                                  Judge: Susan D. Barrett
       Debtors.
                                                                                            Chapter: 13


                    NOTICE OF HEARING ON MOTION FOR RELIEF FROM STAY
1) Notice is hereby given that a hearing to consider the Motion for Relief from Stay filed by Lakeview Loan Servicing, LLC will be
   held on:

                                                         July 12, 2022, at 10:00 AM
                                                U. S. Courtroom, U. S. Courthouse, Dublin, GA




2) Within seven (7) days after the date of this notice, the movant/movant's attorney is directed to serve a copy of the motion, together
   with a copy of this notice, on the trustee, debtor, debtor's attorney, U.S. Trustee (except in Chapter 13 cases) and on those persons
   specified by the Bankruptcy Rules. A certificate of service shall be filed with the Court immediately thereafter.


                                                                                           Lucinda Rauback, Clerk
                                                                                           United States Bankruptcy Court
                                                                                           Federal Justice Center
                                                                                           600 James Brown Blvd
                                                                                           P.O. Box 1487
                                                                                           Augusta, GA 30903
Dated: June 14, 2022

                                                                ORDER
     Pursuant to 11 U.S.C. Section 362(e), the automatic stay under 11 U.S.C. §362 is hereby continued and shall remain in full force and
effect pending the final ruling on the motion, unless movant files an objection to any such extension prior to service of the motion.




                                                                      Susan D. Barrett
                                                                      United States Bankruptcy Judge
                                                                      Federal Justice Center
                                                                      600 James Brown Blvd
                                                                      P.O. Box 1487
                                                                      Augusta, GA 30903


Dated: June 14, 2022
B−35 (Rev. 03/22) BJG
